Case 1:20-mj-00169-MEH Document 12 Filed 10/27/20 USDC Colorado Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Case No. 20-mj-00169

UNITED STATES OF AMERICA,

       Plaintiff,

v.

LUIS ALMICAR ERAZO-CENTENO,

       Defendant.


                                  ORDER OF DETENTION


        This matter was before the Court for a detention hearing on October 20, 2020 in the Rule
5 Indictment out of the Northern District of California. Assistant United States Attorney Kelly
Churnet represented the government, and Kathleen Shen represented the Defendant. The
Defendant did not contest detention.

      The Court has concluded, by a preponderance of evidence, that no condition or
combination of conditions of release will reasonably assure the continued appearance of the
Defendant, based on the attached findings.

       IT IS HEREBY ORDERED that the Defendant is committed to the custody of the
Attorney General or his designated representative for confinement in a corrections facility
separate, to the extent practicable, from persons awaiting or serving sentences or being held in
custody pending appeal; and

       IT IS FURTHER ORDERED that the Defendant is to be afforded reasonable opportunity
to consult confidentially with defense counsel; and

        IT IS FURTHER ORDERED that upon order of this Court or on request of an attorney
for the United States of America, the person in charge of the corrections facility shall deliver
Defendant to the United States Marshal for the purpose of an appearance in the Northern District
of California and that the Marshal may transport the Defendant to the Northern District of
California within the next two weeks.
Case 1:20-mj-00169-MEH Document 12 Filed 10/27/20 USDC Colorado Page 2 of 4




      DATED and ENTERED this 27th day of October, 2020.

                                             By the Court:

                                              S/Michael E. Hegarty
                                             Michael E. Hegarty
                                             United States Magistrate Judge
Case 1:20-mj-00169-MEH Document 12 Filed 10/27/20 USDC Colorado Page 3 of 4




United States v. Luis Almicar Erazo-Centeno
Case No. 20-mj-00169

                     FINDINGS OF FACT, CONCLUSIONS OF LAW, and
                         REASONS FOR ORDER OF DETENTION

        In order to sustain a motion for detention, the government must establish that (a) there is
no condition or combination of conditions which could be imposed in connection with pretrial
release that would reasonably insure the defendant’s presence for court proceedings; or (b) there
is no condition or combination of conditions which could be imposed in connection with pretrial
release that would reasonably insure the safety of any other person or the community.

        If there is probable cause to believe that the defendant committed an offense which
carries a maximum term of imprisonment of over 10 years and is an offense prescribed by the
Controlled Substances Act, or if the defendant is charged with a crime of violence, a rebuttable
presumption arises that no condition or combination of conditions will reasonably assure the
appearance of the person as required and the safety of the community.

        The Bail Reform Act, 18 U.S.C. § 3142(g), directs the court to consider the following
factors in determining whether there are conditions of release that will reasonably assure the
appearance of the defendant as required and the safety of any other person and the community:

       (1)     [t]he nature and circumstances of the offense charged, including whether the
               offense is a crime of violence or involves a narcotic drug;

       (2)     the weight of the evidence against the person;

       (3)     the history and characteristics of the person, including –

               (A)     the person’s character, physical and mental condition, family ties,
                       employment, financial resources, length of residence in the community,
                       community ties, past conduct, history relating to drug or alcohol abuse,
                       criminal history, and record concerning appearance at court proceedings;
                       and

               (B)     whether at the time of the current offense or arrest, the person was on
                       probation, on parole, or on other release pending trial, sentencing, appeal,
                       or completion of sentence for an offense under Federal, State or local law;
                       and

       (4)     the nature and seriousness of the danger to any person or the community that
               would be posed by the person’s release.




                                                 1
Case 1:20-mj-00169-MEH Document 12 Filed 10/27/20 USDC Colorado Page 4 of 4




        The Court has taken judicial notice of the Court’s file, the Pretrial Services Report, and
the comments of counsel and evidence received at the hearing. Weighing the statutory factors set
forth in the Bail Reform Act, I find the following:

         The Indictment which has issued in this case charges Defendant with the following
violations: 21 U.S.C. §§ 841(a)(1), (b)(1)(B), possession with intent to distribute and conspiracy
to distribute heroin, methamphetamine, cocaine base, and cocaine. The rebuttable presumption
of detention applies here. Further, based on the Indictment there is probable cause.

        Defendant presents a risk of nonappearance based on the following circumstances. This
Defendant has tenuous ties in the community, with nothing known about him other than he is a
citizen of Honduras and was deported to that country on June 8, 2018. He has several
encounters with the U.S. Customs and Border Patrol, including multiple deportations. He has
multiple prior arrests (disposition unknown) for narcotics, and multiple felony convictions. He
also has used at least eight alias names and one alias date of birth. Faced with the alternative of
either a potential decades-long prison term in the Bureau of Prisons followed by his removal, or
potentially choosing self-removal by fleeing, I believe there is at least a preponderance of
evidence he would choose the latter and, therefore, the presumption has not been overcome.

       Therefore, after considering all of these factors, I conclude there is a preponderance of
evidence that no condition or combination of conditions of release will reasonably assure the
appearance of Defendant as required. Defendant is remanded.




                                                 2
